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10                      IN THE UNITED STATES DISTRICT COURT
11                    FOR THE EASTERN DISTRICT OF CALIFORNIA
12
13   UNITED STATES OF AMERICA,                  )   2:08-cr-00390-GEB
                                                )   2:08-cr-00392-GEB
14                Plaintiff,                    )
                                                )   ORDER
15        v.                                    )
                                                )
16   KHAMSOU SIDA,                              )
                                                )
17                Defendant.                    )
                                                )
18
19                On May 22, 2009, the Court received a facsimile
20   transmission from the Metropolitan Detention Center, Psychology
21   Department, in Los Angeles, California, to which is appended a
22   Forensic Evaluation and certificate of competency dated May 20,
23   2009.     This two page Order shall be filed on the public docket;
24   however, all documents attached to this Order shall be sealed since
25   they concern Defendant’s mental status.         The Clerk of Court shall
26   serve this Order only on counsel for the United States and counsel
27   for Khamsou Sida, along with a copy of the attached documents.
28   / / /


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1                 A Status/Competency hearing is scheduled to commence at
2    9:00 a.m. on May 29, 2009, in courtroom 10.           The Status Conference
3    previously set for June 5, 2009 is vacated.
4                 IT IS SO ORDERED.
5    Dated:     May 22, 2009
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7                                       GARLAND E. BURRELL, JR.
                                        United States District Judge
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